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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                )            Chapter 11
                                                      )
EAT HERE BRANDS, LLC, et al..,                        )            Lead Case No. 19-61688-WLH
                                                      )
                 Debtors.                             )            (Jointly Administered)
                                                      )

            ORIGIN BANK’S JOINDER TO DEBTORS’ OBJECTION
       TO APPLICATION OF S.A.R. ASSOCIATES, INC. FOR ALLOWANCE
          AND PAYMENT OF AN ADMINISTRATIVE EXPENSE CLAIM
     PURSUANT TO BANKRUPTCY CODE SECTION 503(B)(9) AND OBJECTION


         Origin Bank (“Origin”) hereby files its Joinder to the Debtors’ Objection to the

Application of S.A.R. Associates, Inc. (“SAR”) for Allowance and Payment of an Administrative

Expense Claim Pursuant to Bankruptcy Code Section 503(b)(9) (the “Objection”) and Objection

to the Motion1, showing the Court the following:

         The Debtors oppose SAR’s motion on the ground that SAR does not hold an

administrative expense claim pursuant to 11 U.S.C. § 503(b)(9) because (i) SAR did not deliver

goods to the Debtors within twenty (20) days of the Petition Date and (ii) SAR did not sell goods

or services to the Debtors in the ordinary course of the Debtors’ business. See Objection at 3-6.

Origin concurs with the Debtors’ arguments as to the non-validity of SAR’s alleged

administrative expense claim (the “Alleged Claim”), specifically incorporates them by reference

as if fully set forth herein, and respectfully requests that the Court sustain the Debtors’

Objection.




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   Words not defined herein shall have the meaning ascribed to them in the Objection and, to the extent not defined
therein, the Final DIP Order.


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       Origin Bank also objects to the Motion on the ground that it does not consent to payment

of the Alleged Claim out of Origin Bank’s cash collateral. Pursuant to the Final DIP Order,

Origin Bank has only consented to the Debtors’ use of cash collateral (as such term is defined in

11 U.S.C. § 363(a)) upon the terms and conditions contained in the Final Order, including the

requirement that the Debtors may only use the DIP Loan Amount and the DIP Collateral for the

purposes and in the amounts set forth in the Budget. See Final DIP Order at 13. The Alleged

Claim is not in the Budget, and Origin has not consented to amend the Budget to include the

Alleged Claim; accordingly, the Debtors do not have authority to pay the Alleged Claim.

       Additionally, Origin objects to payment of the Alleged Claim out of Origin’s cash

collateral prior to payment in full to Origin of all amounts due under the DIP Financing

Documents and the Prepetition Loan Documents. Upon review of the Motion and the Debtors’

Objection, it appears likely that SAR, at best, holds an unsecured claim.           Because Origin

anticipates that it will hold a significant deficiency claim against the Debtors following the sale

of the Debtors’ assets that is contemplated in this bankruptcy case, it is very unlikely that the

Debtors will have sufficient funds to pay all unsecured claims in full in this case and it is unclear

what the status of payment of all administrative claims will be if all assets are encumbered.

Origin’s claim should have priority over SAR’s claim. Thus, immediate payment of the Alleged

Claim in full is not proper or permitted under the Bankruptcy Code. Origin objects to the

Debtors’ payment to SAR of any amount at this time on account of its Alleged Claim under the

circumstances.

       For the foregoing reasons, Origin respectfully requests that the Court deny the Motion,

sustain the Debtors’ Objection and Origin’s objection herein stated and grant such other relief as

it deems just and proper.



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      This 23rd day of September 2019.

                                         Respectfully submitted,

                                         MORRIS, MANNING & MARTIN, LLP

                                         By: /s/ Gwendolyn J. Godfrey
                                            Frank W. DeBorde
3343 Peachtree Road, N.E.                   Georgia Bar No. 215415
Suite 1600                                  Gwendolyn J. Godfrey
Atlanta, Georgia 30326                      Georgia Bar No. 153004
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                         )             Chapter 11
                                               )
EAT HERE BRANDS, LLC, et al.,                  )             Lead Case No. 19-61688-WLH
                                               )
               Debtors.                        )             (Jointly Administered)
                                               )

                                  CERTIFICATE OF SERVICE

      This is to certify that I have this day served a copy of the within and foregoing Origin
Bank’s Joinder to Debtors’ Objection to Application of S.A.R. Associates, Inc. for
Allowance and Payment of an Administrative Expense Claim Pursuant to Bankruptcy
Code Section 503(b)(9) and Objection via U.S. Mail with proper postage paid and email upon:

Lindsay P.S. Kolba                                     J. Hayden Kepner, Jr.
Office of the United States Trustee                    Scroggins & Williamson, P.C.
362 Richard B. Russell Building                        4401 Northside Parkway, Suite 4500
75 Ted Turner Drive, SW                                Atlanta, GA 30327
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Woodland Hills, CA 91367                               Atlanta, GA 30303

Dated: September 23, 2019.

                                                         By: /s/ Gwendolyn J. Godfrey_
                                                            Gwendolyn J. Godfrey
                                                            Georgia Bar No. 153004




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